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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                       8:17CR150
                      Plaintiff,                                       8:17CR277

      vs.
                                                                         ORDER
EDWIN LOPEZ,

                      Defendant.


       The defendant, Edwin Lopez, has moved to continue the trial in the above cases (filing
nos. 28 and 40). The motion to continue is unopposed by counsel for the Government. Based
on the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

       IT IS ORDERED:

       1)      Defendant Edwin Lopez's unopposed motion to continue trial in the above cases
               (filing nos. 28 and 40) is granted.

       2)      The trial of these cases is set to commence before the Honorable John M.
               Gerrard, United States District Judge, in the Special Proceedings Courtroom of
               the United States Courthouse, Omaha, Nebraska, at 9:00 a.m. on January 2,
               2018, or as soon thereafter as the cases may be called, for 2 days. Jury selection
               will be held at commencement of trial.

       3)      Failing to timely object to this order as provided under this court’s local rules will
               be deemed a waiver of any right to later claim the time should not have been
               excluded under the Speedy Trial Act.

       November 15, 2017.

                                                      BY THE COURT:

                                                      s/ Susan M. Bazis
                                                      United States Magistrate Judge
